Case 2:17-cv-00185-LPL Document 50-17 Filed 09/26/18 Page 1 of 2

EXHIBIT Q

 

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suREAu oF coRREcnoNs
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1 // ga 7 _rReferred by: (Print)

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§E»Ps otropic Medication ij Patient Request E|Other:

 

   

 

 

 

 

   

 

 

 

 

Comments: Describe below and/or
L”_l$ee attached |ntake Screen C]See attached Nlental Health Screening ij See attached NET/MET

 

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